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               IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF GEORGIA
                        SAVANNAH DIVISION

JACQUELYN ORR and           )
WILLIAM ORR,                )
                            )
    Plaintiffs,             )
                            )
vs.                         ) CIVIL ACTION NO. 416-52
                            )
MACY’S RETAIL HOLDINGS, INC.,)
                            )
    Defendant.              )

                                       ORDER

      Plaintiffs, Jacquelyn Orr and William Orr, have moved to exclude the expert

witness testimony of L. Lamar Blount, CPA/CFF on the grounds that Defendant

has failed to sustain its burden of proving by a preponderance of the evidence that

Mr. Blount’s opinion regarding the unreasonableness of the proposed ambulatory

service center charges for the spinal cord implantation surgery recommended to

Plaintiff Jacquelyn Orr by her treating physician, Markus Niederwanger, M.D.,

satisfies the requirements Federal Rule of Evidence 702.

      Having read and considered Plaintiffs’ motion and responses thereto, the

Court find that Defendant has failed to prove by a preponderance of the evidence

both that Mr. Blount’s opinion is based upon reliable methodology and that Mr.

Blount’s opinion will assist the trier of fact in this case as required by Rule 702.



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      WHEREFORE, Plaintiffs’ Motion to Exclude Expert Witness Testimony of

L. Lamar Blount, CPA/CFF is hereby GRANTED and L. Lamar Blount shall not

be permitted to testify regarding the unreasonableness of the proposed ambulatory

service center charges for the spinal cord implantation surgery recommended to

Plaintiff Jacquelyn Orr by her treating physician, Markus Niederwanger, M.D.

      SO ORDERED, this ___ day of _______________, 20__.


                                      ________________________________
                                      JUDGE, UNITED STATES DISTRICT
                                      COURT FOR THE SOUTHERN
                                      DISTRICT OF GEORGIA




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